
726 S.E.2d 860 (2012)
In re David Lee SMITH.
No. 580P05-4.
Supreme Court of North Carolina.
June 13, 2012.
David Lee Smith, for Smith, David Lee.
Kimberly Grande, Special Counsel, for State of NC.
C. Colon Willoughby, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 11th of April 2012 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Wake County:
"Denied by order of the Court in conference, this the 13th of June 2012."
Upon consideration of the petition filed by Defendant on the 13th of April 2012 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Wake County:
"Denied by order of the Court in conference, this the 13th of June 2012."
